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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                         )
ANGELETTE BLOUNT,        )
Plaintiff                )
                         )
                         )                     Civil Action No.
v.                       )                     1:18-cv-03842-CAP-JKL
                         )
                         )
NATIONAL CREDIT SYSTEMS, )
INC.,                    )
Defendant                )


      PLAINTIFF’S MOTION FOR CLERK’S ENTRY OF DEFAULT

      Comes now Plaintiff by and through her undersigned attorney and does hereby

move the Court to enter a clerk’s entry of default against Defendant National Credit

Systems, Inc. pursuant to Fed. R. Civ. P. 55(a). Plaintiff filed her complaint on

August 13, 2018. (Doc. 1). Defendant was served with a copy of the Complaint on

August 20, 2010. (Doc. 3). Plaintiff’s Answer was due on September 10, 2018. Fed.

R. Civ. P. 12(a)(1)(A). On September 10, 2018, an employee of Defendant contacted

Plaintiff’s attorney via telephone and requested a ten day extension to file a response;

Plaintiff’s attorney agreed. Defendant did not file a motion for extension of time to

file an answer with the court. Defendant did not file an answer by September 20,

2018, which is ten days later that the due date for Defendant’s answer. Defendant is
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a sophisticated business entity that has been a party to more than 300 civil actions in

U.S. District Courts throughout the country according a PACER search conducted

on September 21, 2018.

        For the foregoing reasons, Plaintiff requests that the Clerk enter a Clerk’s

Entry of Default as to Defendant.

Respectfully submitted this 21st day of September, 2018.



                                 ARMOR LAW, LLC
                                 /S/Chris Armor
                                 ________________________
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                           CERTIFICATE OF COMPLIANCE
        I hereby certify that this document was prepared in size 14 Times New Roman
font.

                                 /S/ Chris Armor




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